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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                  CIVIL ACTION

VERSUS                                                    NO: 91-189

JAMAL ABU SAMAK                                           SECTION: "A" (6)



                                  ORDER OF REFERRAL

     IT IS ORDERED, in accordance with Rule 73 of the Local Rules of

this    Court,     that    this   cause   be   referred    to   a   United   States

Magistrate Judge for the Eastern District of Louisiana, for the

purpose(s) designated below:

1. ___        NON-DISPOSITIVE MOTION or other pre-trial matter be
              referred for Hearing and Determination pursuant to 28
              U.S.C. 636(b)(1)(A): MOTION TO APPOINT ATTORNEY


2. _____ MOTION as indicated below for hearing, including
         evidentiary hearing, if necessary, and submission of
         Findings and Recommendations pursuant to 28 U.S.C.
         636(b)(1)(B):

              _____       for injunctive relief
              _____       for summary judgment
              _____       for judgment on the pleadings
              _____       to involuntarily dismiss
              _____       to dismiss or permit maintenance of a class
                          action
              _____       for jail funding judgment
              _____       for attorney’s fees

3.     X      HABEAS CORPUS PETITION OR MOTION TO VACATE SENTENCE for
              preliminary review and, if necessary, for conducting
              hearing, including evidentiary hearing if necessary, and
              submission of proposed Findings and Recommendations for
              disposition pursuant to 28 U.S.C. 636(b)(1)(B) and (C)
              and, as applicable, Rule 8(b) of the Rules governing 2255
              cases.
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4. _____ TO SERVE AS SPECIAL MASTER, upon consent of the parties,
         to hear and determine the following matter and to file a
         Report including Findings and Recommendations, in
         accordance with the provisions of 28 U.S.C. 636(b)(2) and
         Rule 53 F.R.C.P.: _____________________________________.


5. _____ TO SERVE AS SPECIAL MASTER to hear and determine the
         following matter and to file a Report including Findings
         and Recommendations in accordance with the provisions of
         Rule 53 F.R.C.P.:                                      .


6. _____ PAUPER CASE for:

                      Determination re: leave to proceed in forma
                      pauperis pursuant to 28 U.S.C. 1915(a).

                      Finding and Recommendation re: dismissal of
                      complaint as "frivolous or malicious," pursuant
                      to 28 U.S.C. 1915(d).


7. _____ SOCIAL SECURITY CASE referred for hearing                 and   for
         submission of Findings and Recommendations.


8. _____ TITLE VII CASE, not scheduled for trial within 120 days
         after issue was joined, referred pursuant to 42 U.S.C.
         2000e-5(f)(5) and Rule 53, F.R.C.P.

9. _____ Handle all pre-trial matters including trial and pre-
         trial proceedings upon consent of the parties pursuant to
         28 U.S.C. 636(c).

10. X      OTHER: Defendant’s Petition for Writ of Error Coram Nobis
           (Rec. doc. #237).

           New Orleans, Louisiana,September 11, 2008.




                                               JAY C. ZAINEY
                                         UNITED STATES DISTRICT JUDGE
